






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-12-00195-CR






Javier Jaimes, Appellant


v.


The State of Texas, Appellee






FROM THE COUNTY COURT AT LAW NO. 5 OF TRAVIS COUNTY,

NO. C-1-CR-10-500793, 

THE HONORABLE NANCY WRIGHT HOHENGARTEN, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N


		After a bench trial, appellant Javier Jaimes was convicted by the court of assault, a
class A misdemeanor, see Tex. Penal Code Ann. § 22.01 (West 2011).  The court assessed his
punishment at confinement in the county jail for 30 days.  See id. § 12.21 (West 2011).

		Appellant's court-appointed attorney has filed a motion to withdraw supported by a
brief concluding that the appeal is frivolous and without merit.  The brief meets the requirements of
Anders v. California by presenting a professional evaluation of the record demonstrating why there
are no arguable grounds to be advanced.  See Anders v. California, 386 U.S. 738, 744 (1967);
Garner v. State, 300 S.W.3d 763, 766 (Tex. Crim. App. 2009); see also Penson v. Ohio, 488 U.S.&nbsp;75
(1988).  Appellant's counsel sent appellant a copy of the brief along with a letter advising appellant
of his right to examine the appellate record and file a pro se brief.  See Anders, 386 U.S. at 744;
Garner, 300 S.W.3d at 766.  No pro se brief or other written response has been filed.

		We have conducted an independent review of the record and find no reversible error. 
See Anders, 386 U.S. at 744; Garner, 300 S.W.3d at 766; Bledsoe v. State, 178 S.W.3d 824, 826-27
(Tex. Crim. App. 2005).  We agree with counsel that the record presents no arguably meritorious
grounds for review and the appeal is frivolous.  Counsel's motion to withdraw is granted.  The
judgment of conviction is affirmed.


						__________________________________________

						Melissa Goodwin, Justice

Before Chief Justice Jones, Justices Rose and Goodwin

Affirmed

Filed:   September 18, 2012

Do Not Publish


